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 4
     Attorney for Defendant, BOUAVONE KEOMOUNEPANE
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 6
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                           EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,   )                 CASE NO. 1:07-cr-00268-OWW
                                 )
11        Plaintiff,             )
                                 )                 STIPULATION AND
12      v.                       )                 ORDER TO EXTEND TIME
                                 )                 FOR DEFENDANT
13   BOUAVONE KEOMOUNEPANE,      )                 TO REPORT TO CUSTODY
                                 )
14         Defendant.            )
     ____________________________)
15
           The parties hereto, by and through their respective attorneys, stipulate and
16
     agree that the date for defendant Bouavone Keomounepane to surrender to
17
     authorities, as ordered by the court at Ms. Keomounepane’s sentencing on
18
     February 28, 2011, be extended from April 14, 2011 to June 15, 2011.
19
           The parties are entering this stipulation in order to permit Ms.
20
     Keomounepane to attend the high school graduation of her daughter, her youngest
21
     child. The child’s father, Chansamouth Phiachantharath, is in custody serving the
22
     sentence imposed in the instant action.
23
           At the time of Ms. Keomounepane’s sentencing, she was not aware of the
24
     date of her daughter’s graduation from Roosevelt High School. This stipulation will
25
     afford Ms. Keomounepane’s daughter the presence of one of her parents at her
26
     high school graduation.
27
           In entering into this stipulation, the parties have confirmed, and would ask
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 1   the court to consider, Ms. Keomounepane’s compliance with all of the terms and
 2   conditions of her pretrial release as well as her attendance at all court hearings.
 3            Ms. Keomunepane acknowledges the admonition of the court that her failure
 4   to appear at the continued date, if such is approved by the court, would constitute
 5   a new criminal offense.
 6            All previous orders of the court will remain in full force and effect as
 7   previously ordered.
 8
     DATED: March 30, 2011                  /s/ Laurel Montoya       __      __
 9                                          LAUREL MONTOYA
                                            Assistant United States Attorney
10                                          This was agreed to by Ms. Montoya
                                            via email on March 29, 2011
11
12   DATED: March 30, 2011                  /s/ Roger K. Litman    __
                                            ROGER K. LITMAN
13                                          Attorney for Defendant
                                            BOUAVONE KEOMOUNEPANE
14
15
16                                          ORDER
17            The court having considered the stipulation of the parties, and GOOD CAUSE
18   APPEARING, the court orders that the date of surrender of defendant Bouavone
19   Keomounepane is extended from April 14, 2011 to June 15, 2011. Ms.
20   Keomounepane is to surrender at an institution designated by the Bureau of
21   Prisons or, if no such designation has occurred, to the United States Marshal’s
22   Office, Fresno, California, no later than 2:00 p.m. on June 15, 2011.
23            All previous orders of the court, not modified by this order, remain in full
24   force and effect.
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 1   IT IS SO ORDERED.
 2
     Dated: March 30, 2011                 /s/ Oliver W. Wanger
 3   emm0d6                           UNITED STATES DISTRICT JUDGE
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